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                           IN THE FEDERAL DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA, )
      Plaintiff,              )
                              )
vs.                           )                        Case No. 16-CR-14101-EFM
                              )
GAVIN WAYNE WRIGHT,           )
      Defendant.              )
______________________________)

                       MOTION FOR JUDGMENT OF ACQUITTAL
                                IN ACCORDANEC WITH FED. R. CRIM. P. 29


       COMES NOW the defendant, Gavin Wayne Wright, by and through his appointed

counsel Kari S. Schmidt and Tyler J. Emerson of Conlee Schmidt & Emerson, LLP, and moves

this Court to enter a judgment of acquittal as to every count of the Indictment against him in this

case pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure.


                                          ARGUMENT

       Rule 29(a) states that “[a]fter the government closes its evidence or after the close of all

the evidence, the court on the defendant’s motion must enter a judgment of acquittal of any

offense for which the evidence is insufficient to sustain a conviction.” The standard for whether

evidence is sufficient is whether when viewing the evidence in the light most favorable to the

government a rational jury could find the defendant guilty beyond a reasonable doubt. Jackson v.

Virginia, 334 U.S. 307, 319 (1979).


I.     As to all charges generally.

       As a general matter, the United States has failed to present sufficient proof from which

any rational juror could conclude beyond a reasonable doubt that Mr. Wright is guilty on each

and every count. Mr. Wright hereby expressly reserves the right to argue sufficiency of the

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evidence on these and all other grounds in accordance with Rule 29(a), or any other rule of law,

and does not waive or limit such right by arguing the specific grounds below at this time.


II.    Count 5.

       Mr. Wright is charged in Count Five (formerly Count Six in the Second Superseding

Indictment) with knowingly and willfully making materially false, fictitious, and fraudulent

statements and representations in a matter within the jurisdiction of the Federal Bureau of

Investigation (“FBI”). Specifically, in an investigation of an offense allegedly involving

domestic terrorism, Mr. Wright is charged with making the following false statements to a

Special Agent of the FBI:

       (1)    that he did not know anything about co-defendant Curtis Allen manufacturing
       explosive devices at the offices of G&G Homes;

       (2)  that he had no knowledge of any explosives being located on the premises of
       G&G Homes at the time he made such statement;

       (3)     that he was not a member of a militia;

       (4)   that Allen had not invited Mr. Wright to a meeting of the Kansas Security Force
       (“KSF”); and

       (5)    that he had provided the FBI with all of his personal knowledge about Allen
       during an interview,

all in violation of 18 U.S.C. § 1001.

       A.    None of the statements is “material,” and thus even assuming that the
       statements are untrue, no rational jury could find Mr. Wright guilty of the offense
       charged against him in Count Five of the Indictment.

       18 U.S.C. § 1001(a)(2) makes it a crime to “knowingly and willfully make[] any

materially false, fictitious, or fraudulent statement or representation” in “any matter within the

jurisdiction of the executive, legislative, or judicial branch of the Government of the United

States.” The Tenth Circuit holds that in order to obtain a conviction for making a false statement

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in violation of 18 U.S.C. § 1001(a)(2), the Government must prove all of the following beyond a

reasonable doubt “1) that the defendant made a statement, 2) that the statement was false and the

defendant knew it was false, 3) the statement was made knowingly and willfully, 4) the statement

was within the jurisdiction of the federal agency, and 5) the statement was material.” United

States v. Kingston, 971 F.2d 481, 486 (10th Cir. 1992). For a statement to be materially false, it

“must have ‘a natural tendency to influence, or [be] capable of influencing, the decision of the

decisionmaking body to which it was addressed.’” United States v. Gaudin, 515 U.S. 506, 509

(1995); also Maslenjak v. United States, 137 S. Ct. 1918, 1932 (2017)(“an illegal false statement

which has a ‘natural tendency to influence’ the outcome” of a decisionmaking process).

       In this case, the totality of the evidence clearly demonstrates that there was zero tendency

to influence the outcome of the investigation in this case. The only witness to testify to whether

there was a change in the outcome of the investigation, or in its pursuit, after Mr. Wright’s

interview on October 12 was Agent Piland. And Agent Piland testified that he did not know, and

could not comment on that. There is simply no evidence at all that Mr. Wright’s statements –

even assuming, arguendo, that they were “knowingly and willfully” false – had any tendency to

influence the outcome of the FBI’s processes in this case. The Government failed to offer any

evidence bearing on the materiality of the statements. Because there is zero evidence of

materiality, no rational jury could find Mr. Wright guilty beyond a reasonable doubt of the

offense charged in Count Five of the indictment by any of the means articulated.


       B.   Statement 1: That Mr. Wright knew anything about co-defendant Allen
       manufacturing explosive devices at the offices of G&G Homes.

       No rational juror can find beyond a reasonable doubt that Mr. Wright’s statements

regarding co-defendant Allen constituted knowing and willful false statements. At trial, the



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Government offered through witness Special Agent Adam Piland of the Kansas Bureau of

Investigation (“KBI”) Exhibit 138, which was an audio-video recording of Mr. Wright’s

voluntary interview with Special Agent Robin Smith of the FBI and Special Agent Piland on the

morning of October 12, 2016. After playing the recording for the jury, Agent Piland testified that

Special Agent Smith specifically asked Mr. Wright “whether he knew anything about

manufacturing explosives at G&G,” and that Mr. Wright “said that he was not aware of any.”

Agent Piland’s testimony, however, is a total mischaracterization of the words Mr. Wright

responded to. In the recording published to the jury only moments earlier, the following

exchange is clearly heard between Special Agent Smith and Mr. Wright:

       Smith:         And you don’t have any idea why we need a search warrant for your
                      business office?

       Wright:        No. Other than what the cop said last night.

       Smith:         Which is?

       Wright:        He said that he was -- his -- his wife told them he was making bombs is
                      what the cop told me. And I go, “not in my office he’s not.”

       Smith:         What do you know about that?

       Wright:        What do I know about what? Just what I told you. The cop told me.

       Smith:         Do you know anything additional about Curtis and the bombs?

       Wright:        No, I -- No. I don’t have a clue.

       At no time during the exchange the jury heard in the video does Special Agent Smith ask

Mr. Wright about Allen making bombs at G&G Homes. And to follow up, Agent Smith simply

asks whether Mr. Wright knows anything “about Curtis and the bombs,” without reference to

either (i) manufacturing explosives, or (ii) G&G Homes offices. And, in fact, during cross-

examination, Special Agent Piland specifically testified that he did not actually recall Mr. Wright



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saying anything about the manufacturing of explosives. Given Agent Piland’s recanting of his

own testimony, it is clear that Mr. Wright never made a false statement about Allen

manufacturing explosives at all, let alone at G&G.

       Furthermore, Mr. Wright’s statement “not in my office he’s not” does not rise to the level

of a false statement in the totality of the evidence received by the Court to this point. Lula Harris

testified earlier that Mr. Wright was variously making explosives with Allen in G&G, then she

changed her testimony to state that Allen was making explosives in G&G while Mr. Wright was

in the room, and then she changed her testimony a third time in which she stated that at the time

she allegedly saw the explosives cooking at G&G that Mr. Wright was in his office with the door

shut. In Exhibit 138, Mr. Wright clearly states that he is gone from G&G most of the time,

setting homes and checking on cranes and that he does not “micromanage” Allen. The

Government has proffered no evidence that this is untrue. And Dr. Barrow testified that fresh

HMTD does not develop an odor until it begins to decompose, and that at the time he received

the test sample in Quantico, Virginia that it was still relatively fresh. The only logical inference a

rational jury can make, then, is that the sample found at G&G had no odor. Given that it is

unrefuted that Mr. Wright was often gone from G&G, that there is no way to say from the

totality of the circumstances that he was anywhere but his office at G&G with the door shut on

the day Allen was allegedly making something on the counter, and that fresh HMTD has no

odor, a rational jury cannot say – beyond a reasonable doubt – that Mr. Wright knew that

explosives were being manufactured at G&G, and therefore any statements made by him to the

contrary were knowingly false.




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       C.     Statement 2: That Mr. Wright had no knowledge of any explosives being
       located on the premises of G&G Homes.

       This statement was made in response to an ambiguous question on the part of Agent

Smith. Specifically, the following exchange took place in Exhibit 138:

       Smith:         You just don’t want to tell me. So what is-- so what questions do you have
                      for me--

       Wright:        What do you mean I don’t want to tell you?

       Smith:         --that you think you need to know from us before we do a search warrant
                      and find explosives at your place of business.

       Wright:        If they are, I don’t have a clue about it.

       Smith:         Just offered you an opportunity. I didn’t ask you a question.

       Wright:        I understand what you did, but I am not hiding anything.

In this case, the evidence does not point beyond a reasonable doubt to whether Mr. Wright’s

statement is one that relates to knowledge being located on the premises of G&G Homes at the

time he made the statement or whether his statements relate back to his knowledge whether

explosives or bombs were located on the premises of G&G Homes ever. A rational jury cannot

find beyond a reasonable doubt that Mr. Wright had actual knowledge that what has been

described as the “detonator” was – in fact – present at G&G Homes at the time he made the

statement. There has been testimony that other than the detonator, there were no other

“explosives” found at G&G Homes on October 12, 2016. It was found in a drawer in a common

area where anybody could have placed it. Fresh HMTD does not have an odor. And the fact

remains unrefuted that Mr. Wright was out of the G&G Homes offices very often to set homes.

       The only evidence placing explosives inside G&G Homes was Lula Harris’ testimony

which varied from Mr. Wright participating in the cooking of the unknown substance, to Mr.

Wright being present in the room but not participating in the cooking of the unknown substance,

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to Mr. Wright being in his office with the door shut and taking a phone call during the cooking of

the unknown substance several days prior to the search of G&G offices. There is no credible

evidence that Mr. Wright knew that explosives were present in his office on October 12, 2016

since there is no credible evidence that he was in a physical position to see the detonator, and

since there is no credible evidence that he could smell the detonator (fresh HMTD gives no odor,

as testified to by Dr. Barrow) and there is no evidence that any person ever apprised Mr. Wright

that the detonator was then present at G&G. Therefore, no rational jury could find beyond a

reasonable doubt that he made such a statement knowing it to be false.


       D.      Statement 3: That Mr. Wright was not a member of a militia.

       The totality of the evidence at this point does not prove that Mr. Wright was ever a

member of any militia. Dan Day testified that Mr. Wright was a member of a militia. However,

Dan Day never testified to evidence on which he based his opinion that Mr. Wright was a

member of a militia. And Dan Day’s testimony clearly bears out a tendency to manufacture

opinions of other people without a basis in reality. The Government never objected to Ms.

Schmidt’s assertion that it was “preposterous” when Day testified that Mr. Wright must have

believed there was a “bug” on the phone the evening of October 11 without any evidence on

which to base his statement about a listening device.

       The only credible evidence on which the jury could decide whether Mr. Wright was – in

fact – a member of a militia came, instead, from Brody Benson. Benson testified the people were

not members of the militia until they were “patched in.” And in this case, both KSF and III%

patches were located at Curtis Allen’s home and Patrick Stein’s home. Furthermore, KSF calling

cards were found bearing the name and phone number of Curtis Allen. However, Special Agent

Miller testified specifically that no militia patches or calling cards were found at G&G. A Liberal

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Police Department Deputy specifically testified that no militia patches or calling cards were

found in Mr. Wright’s truck. And Agent Lang specifically testified that no militia patches or

calling cards were found at Mr. Wright’s residence. Additionally, in Exhibit 138, Special Agent

Smith accuses Mr. Wright of “digging that hold of untruthfulness” after Mr. Wright states that he

is not a member of a militia. In response, Mr. Wright and Agent Smith have the following

exchange:

       Wright:         I was trying to get into militia with LRC -- the Liberty Restoration
                       Committee with Earnest Lee.

       Smith:          Now, maybe we are getting somewhere. Who is Earnest Lee?

       Wright:         He is a constitutionalist.

       Smith:          What is the Liberty Restoration Committee?

       Wright:         It’s a constitutional movement.

       Mr. Wright never attempts to distance himself from the militia. And, in fact, he states

plainly to Agent Smith that he was trying to get into militia organizations. However, it is a

logical impossibility for a person to become a member (the assumption being that they are not

presently a member), if they are already a member. Additionally, Mr. Wright states plainly that

the LRC is a constitutional movement. He never states that the LRC is, in and of itself, a discrete

organization such as a militia might be. Furthermore, the Government has proffered no evidence

and has elicited no testimony that the LRC is, in fact, a militia (a discrete organization) as

opposed to a political movement. Even in light most favorable to the Government, no rational

jury can find beyond a reasonable doubt that Mr. Wright was – in fact – a member of a militia at

the time he made this statement.




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       E.       Statement 4: That Allen had not invited Mr. Wright to a meeting of the KSF.

       On October 12, Agent Smith and Mr. Wright have the following exchange clearly heard

in Exhibit 138:

       Smith:          He never invited you to a meeting with a group called Kansas Security
                       Force?

       Wright:         No. He’s --

       Smith:          You’re not a member of a militia?

       In the first instance, Agent Smith asks Mr. Wright the question whether Allen invited him

to a meeting. However, after Wright says “no,” it is clear that he is about to explain his response

to Agent Smith. However, instead of allowing Mr. Wright to clearly articulate his response,

Agent Smith immediately interrupts Mr. Wright. It ought to go without saying that when a

special agent of the FBI cannot even be bothered to allow a person to explain their response

(such as if Mr. Wright is interpreting Agent Smith’s question in a reasonable way, even if Agent

Smith did not personally intend his question to be inferred in such a way), then it cannot be said

that Mr. Wright’s denial was knowing or even a denial. No rational jury could find Mr. Wright’s

denial to be false beyond a reasonable doubt without understanding whatever Mr. Wright was

about to say to clarify when Agent Smith abruptly cut him off. Furthermore, while not directly

related to this question, Agent Smith appears to attempt to fix his fatal error:

       Smith:          And who put you on to this [the LRC]? It was Curtis, wasn’t it?

       Wright:         No, it’s actually the whole-- everybody in the group.

       The evidence shows that Mr. Wright believes he was invited by people in a group that

may have included Allen, but never Allen individually. Agent Smith did not feel it necessary to

identify other group members during the interview. Instead of asking questions reasonably

designed to elicit the types of responses Agent Smith desired, Agent Smith instead devolved into

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accusations against Mr. Wright. But Agent Smith’s failure to ask a “good” and appropriately-

tailored question cannot be held against Mr. Wright when he was not given the opportunity to

provide a response to the question asked, and when Mr. Wright reasonably interpreted what he

believed Agent Smith was asking while Agent Smith failed to follow up and make sure they

were both actually on the same page. No rational jury could find beyond a reasonable doubt that

Mr. Wright “knowingly and willfully” made this false statement when his unfinished response –

interrupted by Agent Smith – would have cleared up the confusion that was palpable in the room

which Agent Piland testified to.


       F.    Statement 5: That Mr. Wright had provided the FBI with all of his personal
       knowledge about Allen obtained over 18 months during a 24-minute interview.

       In the first instance, this is an unfair question that due process would forbid. Suggesting

that a person makes a false statement if he says that he “provided the FBI with all of his personal

knowledge” about another person during a 24-minute interview is simply disingenuous. Mr.

Wright testified that he personally knew Allen going back a year and a half, “give or take,” prior

to the interview on October 12, 2016. Mr. Wright answered the questions asked of him regarding

Mr. Allen and his employment, stating that he had been working for Mr. Wright for five to six

weeks prior to October 12. When Agent Smith asked “So, you don’t know anything else about

Curtis Allen,” and Mr. Wright responded “No, not personally,” Agent Smith failed to follow up

with any number of reasonable questions. Agent Smith easily could have followed up with any

number of leading questions. This is a “catch-all” question that violates due process because a

fair interpretation of the question would suggest that Mr. Wright made a false statement if he

failed to recall every interaction, in detail, he had with Curtis Allen during the roughly 18

months, or 72 weeks, or 504 days, or 12,096 hours or 725,760 minutes (give or take) that he



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knew, was acquainted with, had spent time with, had spoken to Curtis Allen at the time of the

interview. As applied, Agent Smith’s questions were ambiguous (i.e. capable of having more

than one reasonable interpretation), and the Government’s evidence has demonstrated that Mr.

Wright’s responses were reasonably calculated to respond to a reasonable interpretation of Agent

Smith’s questions. Because Agent Smith failed to clarify his questions, and because Mr.

Wright’s responses truthfully replied to any reasonable interpretation of Agent Smith’s

ambiguous questions, no rational juror can be expected to find beyond a reasonable doubt that

Mr. Wright could do that (or that he should be expected to), and so this is an overly-broad

question Agent Smith asked.

       Additionally, Mr. Wright does his utter best to answer the questions non-questions that

Agent Smith insisted on using. In Exhibit 138, when Agent Smith asks the question “[s]o what

else is there to know about you guys’ relationship,” Mr. Wright – exasperated and with a

questioning tone in his voice, as though to obtain some clarification from Agent Smith, says, “I

don’t have a clue. Business?” Agent Smith then impliedly accuses Mr. Wright of being a liar

because Mr. Wright is not a mind-reader:

       Smith:         Why do I need a search warrant for your office? My legal reasons? What
                      am I looking for?

       Wright:        I don’t have a clue.

       Smith:         Not even the slightest?

       Wright:        No. Not even the slightest.

       Smith:         Back to that respect issue...

Smith later then asks “[s]o you don’t know anything else about Curtis Allen?” to which Mr.

Wright replied “No, not personally,” a statement which can reasonably be inferred by a rational

juror to mean that Mr. Wright may have had what Mr. Wright considered non-personal

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knowledge about Curtis Allen. However, Agent Smith’s failure to follow up on this opening does

not make what Mr. Wright did say a “knowing and willful” false statement in and of itself.

       And to clarify, Agent Piland testified that at this point in the interview captured and

published in Exhibit 138, there had been no discussion of anything other than Curtis Allen and

Lula Harris’ altercation the night before, how long Allen had worked for Mr. Wright, or anything

other than what had happened on the afternoon and evening of October 11. Later in the

conversation, Agent Smith tells Mr. Wright “Gavin, don’t lie to me,” and the following exchange

takes place:

       Smith:         Then let’s back this up and let’s start from square one. How exactly do
                      you know Curtis Allen?

       Wright:        He put a security system into my office. That’s where I met him.

       Smith:         And you said you have known him about an hour-- year and a half. Give
                      or take.

       Wright:        About give or take. Yeah.

At no time does Wright deny knowing Allen. At no time does Wright deny any actual question

with a discrete response. Even Smith’s question, “how exactly do you know Curtis Allen” could

have been interpreted by a rational jury (and Mr. Wright) in any number or ways:

       How did you meet Curtis Allen?

       Through what organizations or people are you acquainted with Curtis Allen?

       How long have you known Curtis Allen?

       How well do you know Curtis Allen?

       Agent Smith’s questions are simply so overly-broad and provide no notice to Mr. Wright

about what type of response Smith is actually wanting (how long, how well, when did you meet,

what were the circumstances of you meeting, etc.). Because Agent Smith’s questions were so



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ambiguous, and because Mr. Wright’s responses were reasonable to at least one reasonable

interpretation of Agent Smith’s questions, no rational jury could find Mr. Wright guilty beyond a

reasonable doubt of making a false statement on these matters.


III.   Counts 1 and 2.

       There is insufficient evidence for a rational jury to find beyond a reasonable doubt that

Mr. Wright ever actually agreed with others to manufacture or use a weapon of mass destruction,

or to commit civil rights violations on the basis of race, ethnicity or national origin. While he

participated in conversations and language with others, the only evidence suggesting that he did

anything beyond “feigning acquiescence” came from Dan Day. See United States v. LaBossiere,

13 U.S.C.M.A. 337, 340 (1962); also United States v. Dumas, 688 F.2d 84, 86 (10th Cir.

1982)(conspiracy requires a “meeting of the minds”). However, Dan Day never testified that Mr.

Wright agreed with his co-defendants to do these things, but merely testified that it was his

impression that Mr. Wright was “serious” because Mr. Wright said certain words and

participated in certain conversations. However, Dan Day testified to using the same words and

participating in the same conversations, and so no rational juror can find beyond a reasonable

doubt from the totality of the evidence that Mr. Wright actually acquiesced, but merely that he

engaged in what appeared to be acquiescence – the same as Dan Day. Mr. Wright’s statements

in Exhibits 1107 and 1108 both bear this out, as well, and tend to mitigate any finding of

acquiescence or even knowledge of any alleged criminal purpose of his co-defendants.

                                              Respectfully submitted,

                                              /s/ Kari S. Schmidt
                                              Kari S. Schmidt, #11524
                                              /s/ Tyler J. Emerson
                                              Tyler J. Emerson, #26006
                                              Conlee Schmidt & Emerson, LLP

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above MOTION FOR JUDGMENT
OF ACQUITTAL was filed and served electronically pursuant to the CM/ECF system on April
10, 2018 on all counsel of record.

                                         /s/ Kari S. Schmidt
                                         Kari S. Schmidt




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